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                       UNITED STATES DISTRICT COURT
  8
                      CENTRAL DISTRICT OF CALIFORNIA
  9
  10 PEPPERDINE UNIVERSITY                   Case No. 2:25−cv−01429−CV−ADS
          Plaintiff(s),
  11
                                             ORDER RE MOTIONS FOR
                      v.                     SUMMARY JUDGMENT
  12
     NETFLIX INC, et al.                     [Updated 3/13/25]
  13
          Defendant(s).
  14
  15
  16
  17
  18       READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE
  19       AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
  20       WHEN CONSULTING THIS ORDER, PLEASE BE SURE TO USE
  21       THE MOST UPDATED VERSION LOCATED ON JUDGE
  22       VALENZUELA’S WEBPAGE.1
  23
  24
  25
  26   ________________________
  27   1 Judge Valenzuela’s webpage can be found at
       https://www.cacd.uscourts.gov/honorable−cynthia−valenzuela
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  1    1.   GENERAL REQUIREMENTS

  2    pursuant to Federal Rule of Civil Procedure 56 (hereinafter referred to as MSJ),

  3    whether they are denominated as a motion for summary judgment or summary

  4    adjudication.

  5    A.   GENERAL REQUIREMENTS

  6         a.   Joint Brief. The parties shall work cooperatively to submit a single

  7              joint brief for all motions for summary judgment or adjudication

  8              (MSJs) brought by all moving parties. The joint brief shall organized

  9              by issue, presenting the parties’ competing positions on an

  10             issue-by-issue basis. For each issue, the moving party shall present

  11             legal argument and citation to the Joint Appendix of Facts (JAF), see

  12             infra, followed immediately by the opposition’s response that similarly

  13             must be supported by legal argument and citation to the JAF.

  14        b.   Form. Because summary judgment motions are fact-intensive, parties

  15             should prepare papers in a fashion that will assist the Court in

  16             considering the material (e.g., through use of tabs, tables of contents,

  17             headings, indices). The joint brief must cite to the JAF, see infra.

  18        c.   Word Limit. Each separately represented party shall be limited to 7,000

  19             words, exclusive of tables of contents and authorities. Leave for

  20             additional briefing will be given only in extraordinary cases. Each party

  21             is limited to the use of a total of eight footnotes.

  22        d.   Timing. The Court expects the parties to agree to a filing schedule for an

  23             MSJ, which must be filed in compliance with the deadlines set forth in

  24             Paragraph 1(e). The parties should not wait until the last day to file; on

  25             the other hand, the filing of clearly premature motions requiring a

  26             continuance to permit discovery wastes resources.

  27        e.   Briefing Schedule. If multiple parties are moving for summary

  28             judgment, the parties should designate only one party as “the moving


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  1             party” for purposes of the briefing schedule. The schedule for the

  2             joint brief shall be as follows:

  3             i.    Meet and Confer. For an MSJ to be timely filed, the moving party

  4                   must arrange for an in-person meeting or videoconference to take

  5                   place no later than 53 days before the motion hearing cutoff set

  6                   forth in the case management order. The parties shall thoroughly

  7                   discuss each issue to be raised and the law and evidence relevant to

  8                   that issue. A thorough discussion serves a critical function: It

  9                   often narrows the issues to be adjudicated, and it allows the parties

  10                  to squarely and fully address the actual issues requiring resolution.

  11            ii.   Moving Portion. No later than seven days after the meet and

  12                  confer, the moving party shall provide to the opposing party an

  13                  electronic copy of the moving party’s portion of the joint brief,

  14                  together with the moving party’s portion of the JAF and Joint

  15                  Appendix of Evidence (JAE), see infra.

  16           iii.   Opposition Portion. No later than 14 days after receiving the moving

  17                  party’s papers, the opposing party shall provide to the moving

  18                  party an electronic copy of the integrated motion, which shall

  19                  include the opposing party’s portion of the joint brief, JAF, and

  20                  JAE. At this point, the opposing party should sign the joint brief,

  21                  and include a Certificate of Compliance regarding its portions of

  22                  the brief. See Local Rule 11-6.2.

  23
  24   _________________________
       2 The Court expects the parties to work together professional and agree on which
  25
       party should be designated the moving party. If the parties are unable to agree,
  26   the defendant shall be deemed the moving party. If different parties seek summary
       judgment on different issues, the parties may agree to modify the pre-filing
  27   deadlines in the briefing schedule without leave of Court if and only if (1) all
       parties agree to the modifications and (2) the summary judgment motion is timely
  28   filed under the case management order.


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  1             iv.   Filing of Joint Brief. After receiving the integrated version of the

  2                   motion and related papers, the moving party shall finalize it for

  3                   filing without making any further revisions to the joint brief and

  4                   appendices, except to note in the JAF (in the format described in

  5                   the instructions below) whether any facts added by the opposing

  6                   party are disputed or undisputed. Once finalized, the moving

  7                   party’s counsel shall sign and electronically file the joint brief,

  8                   JAF, and JAE no later than four days after receiving the opposing

  9                   party’s signed copy. The moving party should include a Certificate

  10                  of Compliance regarding its portions of the joint brief. See Local

  11                  Rule 11-6.2. The joint brief shall be accompanied by a Notice of

  12                  Motion and Motion for Summary Judgment and shall be

  13                  calendared pursuant to the Local Rules on an available date no

  14                  later than the motion hearing cutoff in the case management order.

  15       f.    Supplemental Memoranda. After the joint brief is filed, each party may

  16             separately file a supplemental memorandum of points and authorities, not

  17             exceeding 3,000 words, no later than 14 days before the scheduled

  18             hearing date. A supplemental brief must be accompanied by a Certificate

  19             of Compliance pursuant to Local Rule 11-6.2. The parties may not use

  20             this filing to supplement the JAF or the JAE in any way. No additional

  21             briefing or filing in support of or in opposition to the MSJ is permitted.

  22       g.     Multiple Motions. No more than one joint motion may be filed under

  23             Fed. R. Civ. P. 56, whether brought as a motion for summary judgment

  24             or summary adjudication, without leave of Court. In the rare case in

  25             which leave of Court is sought, the parties shall file a joint noticed

  26             motion setting forth their respective positions on the existence of good

  27             cause for the filing of multiple motions.

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  1    2.   JOINT APPENDIX OF FACTS (JAF)

  2         The joint brief shall be accompanied by a single statement of undisputed and

  3    disputed facts contained in a JAF presented in a table. This Court’s requirements

  4    for the JAF supersede the requirements in Local Rules 56-1, 56-2, and 56-3 for a

  5    “Statement of Uncontroverted Facts,” which the parties need not additionally file.

  6          a.    Table Format. The JAF table shall contain four columns.

  7                i.    Column No. 1. The first column shall contain the number of the

  8                      fact alleged to be undisputed. All asserted undisputed facts shall

  9                      be sequentially numbered and divided into sections according to

  10                     the element of proof to which the facts relate.

  11              ii.    Column No. 2. The second column shall contain a plain statement

  12                     of the fact.

  13                     Facts shall not be compound (e.g. Mike and Jane signed a

  14                     contract, and Jane the contract in May 2017).

  15                     Each fact must be stated separately in its own row as shown

  16                     below.

  17                     Neither legal arguments nor conclusions constitute facts.

  18                     Facts shall not be repeated if they relate to multiple claims

  19                     for multiple elements of proof. The first reference to a fact in

  20                     the JAF shall serve and−through incorporation by

  21                     reference−can be cited to support all subsequent claims

  22                     (e.g., “See JAF 1-5”).

  23              iii.   Column No. 3. The third column shall contain a citation to

  24                     admissible evidence that supports the proffered fact; the evidence

  25                     cited must be included in the JAE.

  26              iv.     Column No. 4. The fourth column shall contain the opposing

  27                     party’s response to the fact alleged to be undisputed: (1) stating

  28                     that the fact is undisputed or disputed, (2) briefly stating why the


                                                   5
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  1                    opposing party disputes the fact, (3) citing with specificity the

  2                    evidence that refutes the fact, and (4) explaining how the cited

  3                    evidence refutes the fact; the evidence cited must be included in

  4                    the JAE.

  5         b.    Headers. Where feasible, parties should use headers to group facts

  6               relevant to a particular issue. The table below illustrates the format that

  7              must be used.

  8      SUF            Fact                    Supporting          Def.’s Response
       No.                                      Evidence
  9
       Issue No. 1 Plaintiff’s Claim for Breach of Contract is Barred by the Statute
  10   of Limitations.
  11
                                                                 Disputed. Witness 2
                 Witness 1 and         Witness 3 Decl. ¶ 5,      testified
  12   1.        Witness 2
                 signed a contract for Ex 6.
                                                                 that the contract was for a
  13                                                             lease, not a purchase.
                 the                                             Witness 2
                 sale and purchase of                            Depo. 29:4-8, Ex. 1.
  14             property.
  15                                                             Disputed in Part. Witness
                 Witness 2 mailed the Witness 3 Decl. ¶ 8,
       2.        contract in May      Ex. 21.
                                                                 2 testified she mailed the
  16                                                             contract in January 2017
                 2017.                                           Witness 2 Depo. 3:4-6, Ex.
  17                                                             1.
  18
            c.    Good-Faith Preparation. The parties shall cooperate to prepare the JAF
  19
                  in good faith and otherwise will be subject to appropriate sanctions.
  20
                  i.   The parties shall work cooperatively to identify a single set of facts
  21
                       alleged to be undisputed to avoid unnecessary duplication or
  22
                       confusion.
  23
                 ii.   The parties shall provide only material facts, in a noncompound
  24
                       form, arranged according to their relevancy to a particular issue.
  25
                       Do not rotely “cut and paste” from the “Background” of the joint.
  26
                       brief.
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  1           iii.   If a party disputes a fact in bad faith by offering evidence that does

  2                  not contradict the proffered fact or by failing to provide a specific

  3                  citation to the supporting evidence, the Court will deem the fact

  4                  undisputed for purposes of the motion. See Fed. R. Civ. P.

  5                  56(e)(2); L.R. 56-4.

  6            iv.    If a party disputes a fact in part, the disputing party should state

  7                  “Disputed in Part,” highlight the disputed part in bold italics, and

  8                  provide the specific evidentiary support for the dispute (see

  9                  example above). A party that lacks candor in failing to

  10                 acknowledge the limited extent of the dispute forces the Court to

  11                 expend needless resources discovering it itself.

  12           v.     The JAF should be as narrow and concise as the issues on

  13                 summary judgment properly warrant. If the Court determines that

  14                 the JAF is unjustifiably long or unwieldy, the Court may strike the

  15                 JAF and require the parties to refile it (and any document citing it)

  16                 within two business days.

  17           vi.    Deliberate gamesmanship designed to abuse the process may result

  18                 in an order to show cause (OSC) re sanctions against the abusive

  19                 party and/or counsel, including, if appropriate, terminating and/or

  20                 monetary sanctions. A party who is the subject of an OSC should

  21                 be prepared to justify each purportedly disputed fact at the hearing.

  22                 Abuses that may invite an OSC include but are not limited to the

  23                 following tactics:

  24                 Stating a fact is undisputed when it clearly is not;

  25                 Disputing a clearly undisputed fact in whole or part;

  26                 Manufacturing a dispute by mischaracterizing evidence,
                     reframing the stated fact in order to dispute the fact as
  27                 reframing the stated fact in order to dispute the fact as
                     undisputed fact;
  28


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  1                   Making legal argument in the JAF; and

  2                   Introducing clearly irrelevant or immaterial facts for the
                       obvious purpose of obfuscation.
  3
  4    3.     JOINT APPENDIX OF EVIDENCE (JAE)

  5         The joint brief shall be accompanied by a JAE−i.e., a separate, tabbed

  6    appendix of all evidence in support of or opposition to the MSJ, including

  7    declarations, deposition excerpts, documents, photographs, etc. Physical evidence

  8    (e.g., video recordings) shall be lodged separately. No evidence should be attached

  9    to a memorandum of points and authorities or included anywhere other than in the

  10   JAE.

  11            The JAE shall include a table of contents. The JAE shall be filed as a

  12   single, combined PDF; more than one PDF may be filed if file-size constraints

  13   preclude filing the JAE as a single PDF. In the event multiple PDFs are necessary

  14   to file the JAE, each file shall be titled by part and exhibit series (e.g., JAE Part 1,

  15   Exhibits 1-50). Each exhibit within the JAE must be bookmarked; the bookmark

  16   should include the exhibit number and a brief description of the exhibit (e.g.,

  17   Ex. 1 - Jones Depo. Excerpts).

  18            Declarations shall set out admissible facts without any argument, and

  19   evidence must be properly authenticated by stipulation, declaration, or otherwise.

  20   No party shall submit evidence other than the specific evidence necessary to
  21   support or controvert a proposed statement of undisputed fact. Do not, for
  22   example, submit the entire deposition transcripts or an entire set of interrogatory
  23   responses when relying on only a portion thereof.
  24            When multiple parties wish to produce different excerpts of the transcript
  25   of the same deposition, the excerpts shall be combined into a single exhibit
  26   containing all pages to which either party cites.
  27   4.     JOINT APPENDIX OF OBJECTIONS (JAO)
  28        The parties shall prepare a Joint Appendix of Objections (JAO) containing any


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  1    evidentiary objections in a single, separate document presented in a three-column

  2    table as follows:

  3    Objector Evidence                            Objection (O)/ Response(R)
  4              1. “Witness 2 mailed the           O: Lacks foundation.
       Plaintiff contract in                        R: Witness 1 saw Witness 2
  5              May 2017.” (Witness 1 Decl.        mail it.
                 ¶ 8.)                              (Party 1 Decl. ¶ 8.)
  6
  7         Failure to comply with this formatting requirement will result in a waiver
  8    of the objections. Blanket or boilerplate objections will be overruled and
  9    disregarded.
  10        To allow both sides the opportunity to respond to the other’s evidentiary
  11   objections, the JAO is due after the joint brief, JAF, and JAE, as follows: The party
  12   opposing summary judgment shall provide the moving party with any objections to
  13   the moving party’s evidence at the same time that it provides its portion of the joint
  14   brief, the JAF, and the JAE. No later than seven days after receiving these
  15   materials, the moving party shall provide to the opposing party its responses to the
  16   opposing party’s evidentiary objections, together with any objections to the
  17   opposing party’s evidence. Within seven days thereafter, the opposing party shall
  18   add its responses to the moving party’s objections (without making any other
  19   changes) and file the JAO.
  20        The parties’ objections and responses in the JAO shall be brief and strictly
  21   limited to the admissibility of the evidence. No substantive legal arguments will be
  22   permitted. If an evidentiary dispute is dispositive of a claim or argument, it should
  23   be addressed in the briefing on that claim or argument.
  24   5.   FAILURE TO COMPLY
  25        If it appears that the parties have not met and conferred in good faith, have not
  26   worked to fully integrate the MSJ, or have otherwise failed to fully comply with
  27   this Order, the MSJ may be stricken, and the parties may be required to repeat the
  28   process. The deadline for hearing the MSJ will not be continued for failure to

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  1     comply with this Order, absent good cause. If it appears that one (or more) of the

  2     parties is primarily responsible for the failure to properly file a compliant joint

  3     brief, the primarily responsible party or parties shall be subject to appropriate

  4     sanctions.

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       Dated: June 16, 2025
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